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                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                               CASE NO. 18-55697-lrc

CASSANDRA JOHNSON LANDRY AKA                         CHAPTER: 13
CASSANDRA LANDRY,
                                                     JUDGE: LISA RITCHEY CRAIG
              Debtor.

WILMINGTON SAVINGS FUND SOCIETY,                     CONTESTED MATTER
FSB, AS TRUSTEE OF STANWICH
MORTGAGE LOAN TRUST A,

              Movant,
v.

CASSANDRA JOHNSON LANDRY AKA
CASSANDRA LANDRY, Debtor
IVY T. LANDRY, Co-Debtor
MELISSA J. DAVEY, Trustee,

              Respondent(s).


                                  NOTICE OF HEARING

       PLEASE TAKE NOTICE that the Movant named above has filed a Motion for Relief
from the Automatic Stay and the Co-Debtor Stay, as well as related papers with the Court
seeking an Order Granting Relief from the Automatic Stay and the Co-Debtor Stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
in Courtroom 1204, United States Courthouse, 75 Ted Turner Drive SW, Atlanta, GA 30303, at
1:15 P.M., on August 28, 2018.

       NOTICE TO CO-DEBTOR: This Motion seeks relief from the co-debtor stay pursuant
to 11 USC Section 1301. If you do not file and serve a written objection to this Motion within
20 days from the date this Motion was filed, the Motion may be granted and the co-debtor stay
may be terminated. Objections shall be filed with the Clerk, U.S. Bankruptcy Court, at the
address shown in the next paragraph, and shall be served by U.S. Mail on the undersigned
attorney whose name and address appear at the end of this notice.

       NOTICE TO DEBTOR: Your rights may be affected by the Court’s ruling on these
pleadings. You should read these pleadings carefully and discuss them with your attorney, if you
have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)
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If you do not want the Court to grant the relief sought in these pleadings, or if you want the
Court to consider your views, then you and/or your attorney must attend the hearing. You may
also file a written response to the pleading with the Clerk at the address stated below, but you are
not required to do so. If you file a written response, you must attach a certificate stating when,
how, and on whom (including addresses) you served the response. Mail or deliver your response
so that it is received by the Clerk at least two business days before the hearing. The address of
the Clerk’s Office is: Clerk, U.S. Bankruptcy Court, 75 Ted Turner Drive SW, Room 1340,
Atlanta, GA 30303. You must also mail a copy of your response to the undersigned at the
address stated below.

         If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. If a final decision cannot
be rendered by the Court within sixty (60) days of the date of the request, Movant waives the
requirement that a final decision be issued within that period. Movant consents to the automatic
stay remaining in effect until the Court orders otherwise.



                                                      Andrew H. McCullen, Bar No.: 872658
                                                      Attorney for Movant
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                                 CASE NO. 18-55697-lrc

CASSANDRA JOHNSON LANDRY AKA                           CHAPTER: 13
CASSANDRA LANDRY,
                                                       JUDGE: LISA RITCHEY CRAIG
               Debtor.

WILMINGTON SAVINGS FUND SOCIETY,                       CONTESTED MATTER
FSB, AS TRUSTEE OF STANWICH
MORTGAGE LOAN TRUST A,

               Movant,
v.

CASSANDRA JOHNSON LANDRY AKA
CASSANDRA LANDRY, Debtor
IVY T. LANDRY, Co-Debtor
MELISSA J. DAVEY, Trustee,

               Respondent(s).


                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                           AND THE CO-DEBTOR STAY

         COMES NOW Movant named above and shows this Court the following:

      1.       This Motion is made pursuant to Section 362(d) of the Bankruptcy Code for relief

from the automatic stay and pursuant to Section 1301(c) of the Bankruptcy Code for relief from

the co-debtor stay, for all purposes allowed by law and the contract between the parties,

including, but not limited to, the right to foreclose on certain real property by a private power of

sale contained in a certain Security Deed.

      2.       Movant is the holder or the servicer of a loan secured by certain real property in

which the Debtor has an interest. Said real property is security for a Promissory Note, and is

commonly known as 2969 Sweetbriar Walk, Snellville, Georgia 30039.
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       3.          There has been a default in mortgage payments which have come due since this

case was filed. As of July 14, 2018, three (3) post petition payments have been missed.

       4.          The unpaid principal balance is $163,074.93, and interest is due thereon in

accordance with the Promissory Note.

       5.          Because of the default and clear inability to make all required payments, Movant

is not adequately protected. Movant's interest would also be irreparably harmed by the

continuation of the co-debtor stay.

       6.          Because the Loan Documents so provide, Movant is entitled to reasonable

attorney's fees.

       7.          Movant requests that in the event the Motion is granted, the Trustee be ordered to

cease funding any balance of Movant’s claim.

       8.          Movant requests that the provisions of Fed. R. Bankr. P 4001(a)(3) be waived.

       9.          Carrington Mortgage Services, LLC services the loan on the Property referenced

in this Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or

the Debtor obtains a discharge and a foreclosure action is commenced on the mortgaged

property, the foreclosure will be conducted in the name of Movant. Movant, directly or through

an agent, has possession of the promissory note. Movant will enforce the promissory note as

transferee in possession. Movant is the original mortgagee or beneficiary or the assignee of the

Security Deed.

      10.          All communications sent by Secured Creditor in connection with proceeding

against the property including, but not limited to, notices required by state law and

communications to offer and provide information with regard to a potential Forbearance

Agreement, Loan Modification, Refinance Agreement, Loss Mitigation Agreement, or other
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Loan Workout, may be sent directly to Debtors.



       WHEREFORE, Movant prays for an Order lifting the automatic stay and co-debtor stay,

authorizing it to proceed with the exercise of its private power of sale and to foreclose under its

Loan Documents and appropriate state statutes, and for an award of reasonable attorney’s fees.

Movant also prays that Fed. R. Bankr. P. 4001(a)(3) be waived. Movant also prays that the

Chapter 13 Trustee make no further payments on account of Movant’s secured claim, that

Movant be permitted to contact the Debtor or Debtor’s Counsel, as appropriate, through its

agents, servicers and representatives for the purpose of engaging in discussions and

consideration for possible loss mitigation options, and for such other and further relief as is just

and equitable.



                                                      Andrew H. McCullen, Bar No.: 872658
                                                      Attorney for Movant
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                              Case No. 18-55697-LRC

 CASSANDRA JOHNSON LANDRY AKA                        Chapter 13
 CASSANDRA LANDRY,

                Debtor.

                                CERTIFICATE OF SERVICE

   I, the undersigned, hereby certify under penalty of perjury that I am, and at all times

hereinafter mentioned, was more than 18 years of age, and that on the July 24, 2018, I served a

copy of Notice of Hearing and Motion for Relief from the Automatic Stay and Co-Debtor

Stay which was filed in this bankruptcy matter on the July 24, 2018, in the manner indicated:

The following parties have been served via e-mail:
Melissa J. Davey
mail@13trusteeatlanta.com

The following parties have been served via U.S. First Class Mail:

Cassandra Johnson Landry                         Ivy T. Landry
869 Natchez Valley Trace                         2969 Sweetbriar Walk
Grayson, GA 30017                                Snellville, GA 30039

                                                 Ivy T. Landry
                                                 869 Natchez Valley Trace
                                                 Grayson, GA 30017

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.
Dated: July 24, 2018
                                             Andrew H. McCullen, Bar No.: 872658
                                             Attorney for Movant
                                             Aldridge Pite, LLP
                                             Fifteen Piedmont Center
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